Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 1 of 8 Page ID #:46




   1   Camila Cossío (OR Bar No. 191504)
       Center for Biological Diversity
   2
       P.O. Box 11375
   3   Portland, OR 97211
       Phone: (971) 717-6727
   4
       ccossio@biologicaldiversity.org
   5   admitted pro hac vice
   6
       Brian Segee (Bar No. 200795)
   7   Center for Biological Diversity
       660 S. Figueroa St. Suite 1100
   8
       Los Angeles, CA 90017
   9   Phone: (805) 750-8852
  10   bsegee@biologicaldiversity.org

  11   Attorneys for Plaintiff
  12                      UNITED STATES DISTRICT COURT
  13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

  14   CENTER FOR BIOLOGICAL                    )
  15   DIVERSITY,                               )
                                                )
  16                Plaintiff,                  )   Case No. 2:21-cv-08660
  17                                            )   _________________
             v.                                 )
  18                                            )   PROOF OF SERVICE OF
  19   U.S. FISH AND WILDLIFE                   )   SUMMONS, COMPLAINT, AND
       SERVICE, et al.                          )   OTHER DOCUMENTS
  20                                            )
  21                                            )
                    Defendants.                 )
  22
  23      Plaintiff, by and through the undersigned counsel, hereby certifies pursuant to
  24   L.R. 5-3.1.2 and Fed. R. Civ. P. 4(i) that service for the above captioned case took
  25   place as described below, which included true and correct copies of each of the
  26   following documents:
  27      1. Summons
  28      2. Complaint
                                        1
          PROOF OF SERVICE OF SUMMONS, COMPLAINT, AND OTHER DOCUMENTS
Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 2 of 8 Page ID #:47




   1      3. Civil Cover Sheet
   2      4. Certification and Notice of Interested Parties
   3      5. Notice of Assignment to United States Judges
   4      6. Notice to Parties of Court-Directed ADR Program
   5      7. Notice to Counsel Re Consent to Proceed Before a United States
             Magistrate Judge
   6
   7      On November 15, 2021, the documents listed above were sent by USPS
   8   Certified Mail, electronic return receipt requested, to the following parties:
   9      U.S. Fish and Wildlife Service
          1849 C Street, NW
  10
          Washington, DC 20240-0001
  11      (Tracking No. 9414811899560872198521)
  12      Martha Williams, Principal Deputy Director
  13      U.S. Fish and Wildlife Service
          1849 C Street, NW
  14      Washington, DC 20240-1000
  15      (Tracking No. 9414811899560872128993)
  16      Deb Haaland, Secretary
  17      U.S. Department of the Interior
          1849 C Street, NW
  18      Washington, DC 20240-0001
  19      (Tracking No. 9414811899560872153575)

  20      Office of the Attorney General
          U.S. Department of Justice
  21      950 Pennsylvania Avenue, NW
  22      Washington, DC 20530-0001
          (Tracking No. 9414811899560872181684)
  23
  24      Civil Process Clerk
          U.S. Attorney’s Office - Central District of California
  25      300 N Los Angeles Street, Suite 7516
  26      Los Angeles, CA 90012-3341
          (Tracking No. 9414811899560872164434)
  27
  28
                                        2
          PROOF OF SERVICE OF SUMMONS, COMPLAINT, AND OTHER DOCUMENTS
Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 3 of 8 Page ID #:48




   1      The U.S. Attorney’s Office for the Central District of California received the
   2   documents on November 18, 2021. The Attorney General’s Office received the
   3   documents on November 22, 2021. Defendants U.S. Fish and Wildlife Service,
   4   Martha Williams, and Deb Haaland also received the documents on November
   5   22, 2021. Receipts and delivery confirmation verifying this information are
   6   attached hereto.
   7
   8   Respectfully submitted and dated this 15th day of December, 2021.
   9
                                             /s/ Camila Cossío
  10                                         Camila Cossío (OR Bar No. 191504)
  11                                         Center for Biological Diversity
                                             P.O. Box 11374
  12                                         Portland, OR 97211
  13                                         Phone: (971) 717-6727
                                             ccossio@biologicaldiversity.org
  14                                         admitted pro hac vice
  15
                                             /s/ Brian Segee
  16                                         Brian Segee (Cal. Bar No. 200795)
  17                                         Center for Biological Diversity
                                             660 S. Figueroa Street, Suite 1000
  18                                         Los Angeles, CA 90017
  19                                         Phone: (805) 750-8852
                                             bsegee@biologicaldiversity.org
  20
  21                                         Attorneys for Plaintiff

  22
  23
  24
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                                        3
          PROOF OF SERVICE OF SUMMONS, COMPLAINT, AND OTHER DOCUMENTS
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November 22, 2021

Dear Lila Woloshin:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8118 9956 0872 1985 21.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     November 22, 2021, 7:28 am
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         U S Fish and Wildlife Service 1849 C Street
Shipment Details

Weight:                                                 3.0oz
Destination Delivery Address

Street Address:                                         N.W.
City, State ZIP Code:                                   WASHINGTON, DC 20240-0001
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
  Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 5 of 8 Page ID #:50


November 22, 2021

Dear Lila Woloshin:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8118 9956 0872 1289 93.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     November 22, 2021, 7:28 am
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         Martha Williams Principal Deputy Dir U S Fish
Shipment Details

Weight:                                                 3.0oz
Destination Delivery Address

Street Address:                                         N.W.
City, State ZIP Code:                                   WASHINGTON, DC 20240-1000
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004
  Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 6 of 8 Page ID #:51


November 22, 2021

Dear Lila Woloshin:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8118 9956 0872 1535 75.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     November 22, 2021, 7:28 am
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         Deb Haaland Secretary U S Department of the Int
Shipment Details

Weight:                                                 3.0oz
Destination Delivery Address

Street Address:                                         N.W.
City, State ZIP Code:                                   WASHINGTON, DC 20240-0001
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

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Washington, D.C. 20260-0004
  Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 7 of 8 Page ID #:52


November 22, 2021

Dear Lila Woloshin:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8118 9956 0872 1816 84.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     November 22, 2021, 5:06 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Name:                                         Office of the Attorney General U S DOJ 950 Penn
Shipment Details

Weight:                                                 3.0oz
Destination Delivery Address

Street Address:                                         NW
City, State ZIP Code:                                   WASHINGTON, DC 20530-0001
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

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United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
  Case 2:21-cv-08660-CAS-AFM Document 16 Filed 12/15/21 Page 8 of 8 Page ID #:53


November 18, 2021

Dear Lila Woloshin:

The following is in response to your request for proof of delivery on your item with the tracking number:
9414 8118 9956 0872 1644 34.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     November 18, 2021, 11:57 am
Location:                                               LOS ANGELES, CA 90012
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 3.0oz
Destination Delivery Address

Street Address:                                         300 N LOS ANGELES ST STE 7516
City, State ZIP Code:                                   LOS ANGELES, CA 90012-3341
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
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Washington, D.C. 20260-0004
